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                                           )                   United States District Court
     ANDRE BATTLE, on behalf of            )                   Northern District of Illinois
     himself and all others similarly      )
     situated                              )
                                           )
        Plaintiffs,                        )                       Case No.: 1:25-cv-1741
                                           )
                                           )
         v.                                )
                                           )                   CLASS ACTION COMPLAINT
     Skims Body, Inc.,                     )                             AND
                                           )                    DEMAND FOR JURY TRIAL
        Defendant.



                                                COMPLAINT

1.    Plaintiff, ANDRE BATTLE (hereinafter “Plaintiff” or “BATTLE”), brings this action on behalf of

      himself and all other persons similarly situated against Skims Body, Inc. (hereinafter “Skims Body”

      or “Defendant”), and states as follows:


2.    Plaintiff is a visually-impaired and legally blind person who requires screen-reading software to read

      website content using his computer. Plaintiff uses the terms “blind” or “visually-impaired” to refer

      to all people with visual impairments who meet the legal definition of blindness in that they have a

      visual acuity with correction of less than or equal to 20 x 200. Some blind people who meet this

      definition have limited vision; others have no vision.


3.    Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people in the United States

      are visually impaired, including 2.0 million who are blind, and according to the American

      Foundation for the Blind’s 2015 report, approximately 400,000 visually impaired persons live in the

      State of Illinois.


4.    Plaintiff brings this civil rights action against Skims Body for their failure to design, construct,

      maintain, and operate their website to be fully accessible to and independently usable by Plaintiff
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     and other blind or visually-impaired persons. Defendant is denying blind and visually impaired

     persons throughout the United States with equal access to the goods and services Skims Body

     provides to their non-disabled customers through https://skims.com (hereinafter “Skims.com” or

     “the website”). Defendant’s denial of full and equal access to its website, and therefore denial of its

     products and services offered, and in conjunction with its physical locations, is a violation of

     Plaintiff’s rights under the Americans with Disabilities Act (the “ADA”).


5.   Skims.com provides to the public a wide array of the goods, services, price specials and other

     programs offered by Skims Body. Yet, Skims.com contains significant access barriers that make it

     difficult if not impossible for blind and visually-impaired customers to use the website. In fact, the

     access barriers make it impossible for blind and visually-impaired users to even complete a

     transaction on the website. Thus, Skims Body excludes the blind and visually-impaired from the full

     and equal participation in the growing Internet economy that is increasingly a fundamental part of

     the common marketplace and daily living. In the wave of technological advances in recent years,

     assistive computer technology is becoming an increasingly prominent part of everyday life, allowing

     blind and visually-impaired persons to fully and independently access a variety of services.


6.   The blind have an even greater need than the sighted to shop and conduct transactions online due to

     the challenges faced in mobility. The lack of an accessible website means that blind people are

     excluded from experiencing transacting with Defendant’s website and from purchasing goods or

     services from Defendant’s website.


7.   Despite readily available accessible technology, such as the technology in use at other heavily

     trafficked retail websites, which makes use of alternative text, accessible forms, descriptive links,

     resizable text and limits the usage of tables and JavaScript, Defendant has chosen to rely on an

     exclusively visual interface. Skims Body’s sighted customers can independently browse, select, and
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      buy online without the assistance of others. However, blind persons must rely on sighted

      companions to assist them in accessing and purchasing on Skims.com.


8.    By failing to make the website accessible to blind persons, Defendant is violating basic equal access

      requirements under both state and federal law.


9.    Congress provided a clear and national mandate for the elimination of discrimination against

      individuals with disabilities when it enacted the ADA. Such discrimination includes barriers to full

      integration, independent living and equal opportunity for persons with disabilities, including those

      barriers created by websites and other public accommodations that are inaccessible to blind and

      visually impaired persons.


10. Plaintiff browsed and intended to make an online purchase of underwear on Skims.com. Despite

      his efforts, however, Plaintiff was denied a shopping experience like that of a sighted individual due

      to the Website’s lack of a variety of features and accommodations. Unless Defendant remedies the

      numerous access barriers on its website, Plaintiff and Class members will continue to be unable to

      independently navigate, browse, use, and complete a purchase on Skims.com.


11. Because Defendant’s website, Skims.com, is not equally accessible to blind and visually-impaired

      consumers, it violates the ADA. Plaintiff seeks a permanent injunction to cause a change in Skims

      Body’s policies, practices, and procedures to that Defendant’s website will become and remain

      accessible to blind and visually-impaired consumers. This complaint also seeks compensatory

      damages to compensate Class members for having been subjected to unlawful discrimination.


                                     JURISDICTION AND VENUE


12.     This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331and 42 U.S.C.

        § 12182, as Plaintiff’s claims arise under Title III of the ADA, 42U.S.C. § 12182, et seq.
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13.   Venue is proper in this district under 28 U.S.C. §1391(b)(1) and (2) because Defendant conducts

      and continues to conduct a substantial and significant amount of business in this District, and a

      substantial portion of the conduct complained of herein occurred in this District because Plaintiff

      attempted to utilize, on a number of occasions, the subject Website within this Judicial District.


14.   Defendant is registered to do business in State of Delaware and has also been conducting business

      in State of Illinois, including in this District. Defendant has been and is committing the acts or

      omissions alleged herein in the Northern District of Illinois that caused injury and violated rights

      the ADA prescribes to Plaintiff and to other blind and other visually impaired-consumers. A

      substantial part of the acts and omissions giving rise to Plaintiff’s claims occurred in this District:

      on several separate occasions, Plaintiff has been denied the full use and enjoyment of the facilities,

      goods and services offered to the general public, on Defendant’s Website in Cook County. These

      access barriers that Plaintiff encountered have caused a denial of Plaintiff’s full and equal access

      multiple times in the past, and now deter Plaintiff on a regular basis from accessing the

      Defendant’s Website in the future.


15.   The United States Department of Justice Civil Rights Division has recently provided “Guidance

      on Web Accessibility and the ADA.” It states in part, “the Department has consistently taken the

      position that the ADA’s requirements apply to all the goods, services, privileges, or activities

      offered by public accommodations, including those offered on the web.”


16.   This Court is empowered to issue a declaratory judgment under 28 U.S.C. §§ 2201 and 2202.


17.   This lawsuit is aimed at providing legally blind users like the Plaintiff a full and equal experience.


                                            THE PARTIES


18.   Plaintiff, is and has been at all relevant times a resident of Cook County, State of Illinois.
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19.   Plaintiff is legally blind and a member of a protected class under the ADA, 42 U.S.C. § 12102(l)-

      (2), the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq. Plaintiff, ANDRE

      BATTLE, cannot use a computer without the assistance of screen reader software. Plaintiff has

      been denied the full enjoyment of the facilities, goods and services of Skims.com as a result of

      accessibility barriers on Skims.com.

20.   Defendant, Skims Body, Inc., is a Delaware Corporation doing business in this State with its

      principal place of business located at 1601 N. Vine Street, Los Angeles, CA 90028, being

      represented by its agent Paracorp Incorporated, located at 2140 S Dupont Hwy, Camden, Kent,

      DE 19934.

21.   Skims Body provides to the public a website known as Skims.com which provides consumers

      with access to an array of goods and services, including, the ability to view a variety of modern

      designer underwear, bras, bodysuits, dresses, hoodies, pajamas, leggings, and pants. Consumers

      across the United States use Defendant’s website to purchase underwear, shapewear and clothing.

      Defendant’s website is a place of public accommodation within the definition of Title III of the

      ADA, 42 U.S.C. § 12181(7). The inaccessibility of Skims.com has deterred Plaintiff from making

      an online purchase of underwear.


                                     NATURE OF THE CASE


22.   The Internet has become a significant source of information, a portal, and a tool for conducting

      business, doing everyday activities such as shopping, learning, banking, researching, as well as

      many other activities for sighted, blind and visually-impaired persons alike.


23.   The blind access websites by using keyboards in conjunction with screen-reading software which

      vocalizes visual information on a computer screen. Except for a blind person whose residual

      vision is still sufficient to use magnification, screen access software provides the only method by
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      which a blind person can independently access the Internet. Unless websites are designed to allow

      for use in this manner, blind persons are unable to fully access Internet websites and the

      information, products and services contained therein.


24.   For screen-reading software to function, the information on a website must be capable of being

      rendered into text. If the website content is not capable of being rendered into text, the blind user

      is unable to access the same content available to sighted users.


25.   Blind users of Windows operating system-enabled computers and devices have several screen-

      reading software programs available to them. Job Access With Speech, otherwise known as

      “JAWS”, is currently one of the most popular, and downloaded screen-reading software programs.


26.   The international website standards organization, the World Wide Web Consortium, known

      throughout the world as W3C, has published version 2.2 of the Web Content Accessibility

      Guidelines (“WCAG 2.2”). WCAG 2.2 are well-established guidelines for making websites

      accessible to blind and visually-impaired persons. These guidelines are universally followed by

      most large business entities and government agencies to ensure their websites are accessible.

      Many Courts have also established WCAG 2.2 as the standard guideline for accessibility. The

      federal government has also promulgated website accessibility standards under Section 508 of the

      Rehabilitation Act. These guidelines are readily available via the Internet, so that a business

      designing a website can easily access them. These guidelines recommend several basic

      components for making websites accessible, including but not limited to: adding invisible alt-text

      to graphics, ensuring that all functions can be performed using a keyboard and not just a mouse,

      ensuring that image maps are accessible, and adding headings so that blind persons can easily

      navigate the site. Without these very basic components, a website will be inaccessible to a blind

      person using a screen reader. Websites need to be accessible to the “least sophisticated” user of
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      screen-reading software and need to be able to work with all browsers. Websites need to be

      continually updated and maintained to ensure that they remain fully accessible.


                                       FACTUAL ALLEGATIONS


27.   Defendant controls and operates Skims.com in State of Illinois and throughout the United States.


28.   Skims.com is a commercial website that offers products and services for online sale. The online

      store allows the user to view underwear, shapewear and clothing, make purchases, and perform a

      variety of other functions.


29.   Among the features offered by Skims.com are the following:


        a) Consumers may use the website to connect with Skims Body, Inc on various social media

           platforms, including Instagram, Facebook, TikTok, Twitter, Youtube;

        b) An online store, allowing customers to purchase underwear, bras, bodysuits, dresses,

           hoodies, pajamas, leggings, and pants, and other products for delivery to their doorsteps,

           and;

        c) Learning about shipping and return policies, reading customer reviews and blog posts, and

           learning about the company, amongst other features.


30.   This case arises out of Skims Body’s policy and practice of denying the blind access to the goods

      and services offered by Skims.com. Due to Skims Body’s failure and refusal to remove access

      barriers to Skims.com, blind individuals have been and are being denied equal access to Skims

      Body, as well as to the numerous goods, services and benefits offered to the public through

      Skims.com.


31.   Skims Body denies the blind access to goods, services and information made available through

      Skims.com by preventing them from freely navigating Skims.com.
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32.   Skims.com contains access barriers that prevent free and full use by Plaintiff and blind persons

      using keyboards and screen-reading software. These barriers are pervasive and include, but are

      not limited to: inadequate focus order, inaccessible contact information, changing of content

      without advance warning, unclear labels for interactive elements, inaccessible drop-down menus,

      the lack of navigation links, the denial of keyboard access for some interactive elements and the

      requirement that transactions be performed solely with a mouse.


33.   Alternative text (“Alt-text”) is invisible code embedded beneath a graphical image on a website.

      Web accessibility requires that alt-text be coded with each picture so that a screen-reader can

      speak the alternative text while sighted users see the picture. Alt-text does not change the visual

      presentation except that it appears as a text pop-up when the mouse moves over the picture. There

      are many important pictures on Skims.com that lack a text equivalent. The lack of alt-text on these

      graphics prevents screen readers from accurately vocalizing a description of the graphics (screen-

      readers detect and vocalize alt-text to provide a description of the image to a blind computer user).

      As a result, Plaintiff and blind Skims.com customers are unable to determine what is on the

      website, browse the website or investigate and/or make purchases.


34.   Skims.com also lacks prompting information and accommodations necessary to allow blind

      shoppers who use screen-readers to locate and accurately fill-out online forms. Due to lack of

      adequate labeling, Plaintiff and blind customers cannot make purchases or inquiries as to

      Defendant’s merchandise, nor can they enter their personal identification and financial

      information with confidence and security.


35.   When visiting the Website, Plaintiff, using JAWS, encountered the following specific accessibility

      issues:
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 a) Plaintiff was disoriented when the automatic pop-up window appeared on the web page.

    Plaintiff, as a legally blind user, had significant difficulty knowing when automatic visual

    context change had occurred, such as a new window popping up;


 b) “Skip to content” link was not implemented. Plaintiff was not provided with the

    mechanism to bypass repeated blocks of content;


 c) Interactive elements on the web page had inappropriate and non-descriptive name.

    Plaintiff could not identify the purpose of the interactive element;


 d) Sub-menu elements which contained drop-down menus could not be accessed from the

    keyboard. Plaintiff tried to use “tab” or “arrow” keys to no avail. The website had

    functionality that was dependent on the specific devices such as a mouse, and was not

    available to the legally blind users;


 e) Several adjacent links had the same link texts and led to the same destinations. It was

    confusing for Plaintiff to hear the same information multiple times;


 f) Interactive elements that behaved as "links" were not programmatically written correctly.

    As a result, the screen reader software read the incorrectly constructed element and

    Plaintiff was confused, because of receiving ambiguous information about the element in

    focus;


 g) Interactive elements from the website could not be focused with the Tab key. The website

    did not provide helpful instructions on how to access the interactive element using arrow

    keys. Plaintiff did not know about the interactive element from the page;


 h) When opening a dialog, focus order did not move from trigger button to dialog items.

    Plaintiff was confused navigating through content, and encountered information in an
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              order that is inconsistent with the meaning of the content and can be operated from the

              keyboard;


          i) The Carousel region from the website did not comply with necessary accessibility

              standards. Thus Plaintiff could not control the moving content on the home page;


          j) The telephone number on the website was presented in plain text, and therefore was non-

              interactive and inaccessible to the screen reader software. As a result, Plaintiff was unable

              to contact customer support to clarify details about products or purchase procedure.


      Consequently, blind customers are essentially prevented from purchasing any items on

      Skims.com.


36.   Skims.com requires the use of a mouse to complete a transaction. Yet, it is a fundamental tenet of

      web accessibility that for a web page to be accessible to Plaintiff and blind people, it must be

      possible for the user to interact with the page using only the keyboard. Indeed, Plaintiff and blind

      users cannot use a mouse because manipulating the mouse is a visual activity of moving the mouse

      pointer from one visual spot on the page to another. Thus, Skims.com’s inaccessible design, which

      requires the use of a mouse to complete a transaction, denies Plaintiff and blind customers the

      ability to independently navigate and/or make purchases on Skims.com.


37.   Due to Skims.com’s inaccessibility, Plaintiff and blind customers must in turn spend time, energy,

      and/or money to make their purchases at traditional brick-and mortar retailers. Some blind

      customers may require a driver to get to the stores or require assistance in navigating the stores.

      By contrast, if Skims.com was accessible, a blind person could independently investigate products

      and make purchases via the Internet as sighted individuals can and do. According to WCAG 2.2

      Guideline 4. 1. 2 "Name, Role, Value", all user interface components require a programmatically
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      determinable name. The accessible name of interactive elements (buttons, check boxes, radio

      buttons etc.) enables compatibility with assistive technology, such as screen readers, screen

      magnifiers, and speech recognition software, used by people with disabilities. In case the

      accessible name is not provided, some users will not be able to identify the purpose of the form

      control. Thus, Skims Body has inaccessible design that deprives the Plaintiff and blind customers

      of the opportunity to make purchases on Skims.com on their own.


38.   Skims.com thus contains access barriers which deny the full and equal access to Plaintiff, who

      would otherwise use Skims.com and who would otherwise be able to fully and equally enjoy the

      benefits and services of Skims.com in Illinois State and throughout the United States.


39.   On a number of occasions, Plaintiff, ANDRE BATTLE, attempted to complete a purchase on

      Skims.com. On January 27, 2025, the Plaintiff was searching for a gift for his partner for the

      upcoming Valentine’s Day. As his partner appreciates high-quality well-fitting underwear, he

      intended to find a renowned brand offering comfortable and supportive underwear for various

      body types. In his search, Plaintiff discovered Defendant’s website, Skims.com, a website

      renowned for offering a wide range of high-quality underwear, shapewear, loungewear. However,

      while attempting to purchase Full Brief, a comfortable item from the Panties category, he

      encountered several accessibility issues. The navigation menu did not allow collapsed sections to

      expand, limiting his ability to browse the site. Additionally, when the Plaintiff attempted to add a

      product to the cart, the "Add to Cart" button did not shift focus to the mini cart dialog that appeared

      on the site. As a result, he was unable to efficiently complete his purchase. These accessibility

      barriers made Skims.com inaccessible and not independently usable for blind and visually

      impaired individuals.
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40.   Moreover, Plaintiff will visit the website again immediately upon Defendant correcting the

      numerous accessibility barriers on it. Plaintiff appreciates that the company offers a wide range

      of underwear from Kim Kardashian’s renowned brand designed to appeal to various tastes and

      preferences, and would like to order products to be shipped directly to his home from Defendant’s

      website. He will immediately return to the website when it becomes accessible as he intends to

      purchase high-quality products that became iconic in the fashion community.


41.   As described above, Plaintiff has actual knowledge of the fact that Defendant’s website,

      Skims.com, contains access barriers causing the website to be inaccessible, and not independently

      usable by, blind and visually-impaired persons.


42.   These barriers to access have denied Plaintiff full and equal access to, and enjoyment of, the

      goods, benefits and services of Skims.com.


43.   Defendant engaged in acts of intentional discrimination, including but not limited to the following

      policies or practices:


          (a) constructed and maintained a website that is inaccessible to blind class members with

              knowledge of the discrimination; and/or


          (b) constructed and maintained a website that is sufficiently intuitive and/or obvious that is

              inaccessible to blind class members; and/or


          (c) failed to take actions to correct these access barriers in the face of substantial harm and

              discrimination to blind class members.


44.   Defendant utilizes standards, criteria or methods of administration that have the effect of

      discriminating or perpetuating the discrimination of others.
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45.   Because of Defendant’s denial of full and equal access to, and enjoyment of, the goods, benefits

      and services of Skims.com, Plaintiff and the class have suffered an injury-in-fact which is concrete

      and particularized and actual and is a direct result of Defendant’s conduct.


                                  CLASS ACTION ALLEGATIONS


46.   Plaintiff, on behalf of himself and all others similarly situated, seeks certification of the following

      nationwide class pursuant to Rule 23(a) and 23(b)(2) of the Federal Rules of Civil Procedure: “all

      legally blind individuals in the United States who have attempted to access Skims.com and as a

      result have been denied access to the enjoyment of goods and services offered by Skims.com,

      during the relevant statutory period.”


47.   There are common questions of law and fact common to the class, including without limitation,

      the following:


          (a) Whether Skims.com is a “public accommodation” under the ADA;


          (b) Whether Defendant, through its website, Skims.com, denies the full and equal enjoyment

              of its goods, services, facilities, privileges, advantages, or accommodations to people with

              visual disabilities in violation of the ADA;


48.   Plaintiff’s claims are typical of the Class. The Class, similarly to the Plaintiff, are severely visually

      impaired or otherwise blind, and claim that Defendant has violated the ADA by failing to update

      or remove access barriers on its Website so either can be independently accessible to the Class.


49.   Plaintiff will fairly and adequately represent and protect the interests of the members of the Class

      because Plaintiff has retained and is represented by counsel competent and experienced in

      complex class action litigation, and because Plaintiff has no interests antagonistic to the members

      of the class. Class certification of the claims is appropriate pursuant to Fed. R. Civ. P. 23(b)(2)
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      because Defendant has acted or refused to act on grounds generally applicable to the Class,

      making appropriate both declaratory and injunctive relief with respect to Plaintiff and the Class

      as a whole.


50.   Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3) because questions

      of law and fact common to Class members clearly predominate over questions affecting only

      individual class members, and because a class action is superior to other available methods for

      the fair and efficient adjudication of this litigation.


51.   Judicial economy will be served by maintaining this lawsuit as a class action in that it is likely to

      avoid the burden that would be otherwise placed upon the judicial system by the filing of

      numerous similar suits by people with visual disabilities throughout the United States.


                                     FIRST CAUSE OF ACTION

      (Violation of 42 U.S.C. §§ 12181 et seq. – Title III of the Americans with Disabilities Act)


52.   Plaintiff, on behalf of himself and the Class Members, repeats and realleges every allegation of

      the preceding paragraphs as if fully set forth herein.


53.   Title III of the American with Disabilities Act of 1990, 42 U.S.C. § 12182(a) provides that “No

      individual shall be discriminated against on the basis of disability in the full and equal enjoyment

      of the goods, services, facilities, privileges, advantages, or accommodations of any place of public

      accommodation by any person who owns, leases (or leases to), or operates a place of public

      accommodation.” Title III also prohibits an entity from “[u]tilizing standards or criteria or

      methods of administration that have the effect of discriminating on the basis of disability.” 42

      U.S.C. § 12181(b)(2)(D)(I).
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54.   Skims.com is a sales establishment and public accommodation within the definition of 42 U.S.C.

      §§ 12181(7).


55.   Defendant is subject to Title III of the ADA because it owns and operates Skims.com.


56.   Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(I), it is unlawful discrimination to deny

      individuals with disabilities or a class of individuals with disabilities the opportunity to participate

      in or benefit from the goods, services, facilities, privileges, advantages, or accommodations of an

      entity.


57.   Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(II), it is unlawful discrimination to deny

      individuals with disabilities or a class of individuals with disabilities an opportunity to participate

      in or benefit from the goods, services, facilities, privileges, advantages, or accommodation, which

      is equal to the opportunities afforded to other individuals.


58.   Specifically, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(II), unlawful discrimination

      includes, among other things, “a failure to make reasonable modifications in policies, practices,

      or procedures, when such modifications are necessary to afford such goods, services, facilities,

      privileges, advantages, or accommodations to individuals with disabilities, unless the entity can

      demonstrate that making such modifications would fundamentally alter the nature of such goods,

      services, facilities, privileges, advantages or accommodations.”


59.   In addition, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(III), unlawful discrimination

      also includes, among other things, “a failure to take such steps as may be necessary to ensure that

      no individual with disability is excluded, denied services, segregated or otherwise treated

      differently than other individuals because of the absence of auxiliary aids and services, unless the

      entity can demonstrate that taking such steps would fundamentally alter the nature of the good,
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      service, facility, privilege, advantage, or accommodation being offered or would result in an

      undue burden.”


60.   There are readily available, well-established guidelines on the Internet for making websites

      accessible to the blind and visually-impaired. These guidelines have been followed by other

      business entities in making their websites accessible, including but not limited to ensuring

      adequate prompting and accessible alt-text. Incorporating the basic components to make their

      website accessible would neither fundamentally alter the nature of Defendant’s business nor result

      in an undue burden to Defendant.


61.   The acts alleged herein constitute violations of Title III of the ADA, 42 U.S.C. § 12101 et seq.,

      and the regulations promulgated thereunder. Patrons of Skims Body who are blind have been

      denied full and equal access to Skims.com, have not been provided services that are provided to

      other patrons who are not disabled, and/or have been provided services that are inferior to the

      services provided to non-disabled patrons.


62.   Defendant has failed to take any prompt and equitable steps to remedy its discriminatory conduct.

      These violations are ongoing.


63.   As such, Defendant discriminates, and will continue in the future to discriminate against Plaintiff

      and members of the proposed class and subclass on the basis of disability in the full and equal

      enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

      opportunities of Skims.com in violation of Title III of the Americans with Disabilities Act, 42

      U.S.C. §§ 12181 et seq. and/or its implementing regulations.


64.   Unless the Court enjoins Defendant from continuing to engage in these unlawful practices,

      Plaintiff and members of the proposed class and subclass will continue to suffer irreparable harm.
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65.    The actions of Defendant were and are in violation of the ADA, and therefore Plaintiff invokes

       his statutory right to injunctive relief to remedy the discrimination.


66.    Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and incorporated

       therein, Plaintiff, requests relief as set forth below.

                                     SECOND CAUSE OF ACTION
                                       DECLARATORY RELIEF

67.    Plaintiff, on behalf of himself and the Class Members, repeats and realleges every allegation of

       the preceding paragraphs as if fully set forth herein.


68.    An actual controversy has arisen and now exists between the parties in that Plaintiff contends, and

       is informed and believes that Defendant denies, that its website contains access barriers denying

       blind customers the full and equal access to the products, services and facilities of its website,

       which Defendant owns, operates and controls, fails to comply with applicable laws including, but

       not limited to, Title III of the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq.”


69.    A judicial declaration is necessary and appropriate at this time in order that each of the parties

       may know their respective rights and duties and act accordingly.


                                         PRAYER FOR RELIEF


WHEREFORE, Plaintiff respectfully demands judgment in favor of Plaintiff and the class and against

the Defendants as follows:


       a) A preliminary and permanent injunction to prohibit Defendant from violating the Americans

           with Disabilities Act, 42 U.S.C. §§ 12182, et seq., and the laws of Illinois;


       b) A preliminary and permanent injunction requiring Defendant to take all the steps necessary

           to make its website, Skims.com, into full compliance with the requirements set forth in the
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             ADA, and its implementing regulations, so that Skims.com is readily accessible to and usable

             by blind individuals;


          c) A declaration that Defendant owns, maintains and/or operates its Website in a manner that

             discriminates against the blind and which fails to provide access for persons with disabilities

             as required by Americans with Disabilities Act, 42 U.S.C. §§ 12182, and the laws of Illinois;


          d) An order certifying this case as a class action under Fed. R. Civ. P. 23(a) & (b)(2) and/or

             (b)(3), appointing Plaintiff as Class Representative, and his attorneys as Class Counsel;


          e) Payment of nominal damages;


          f) Pre- and post-judgment interest;


          g) An award of costs and expenses of this action together with reasonable attorneys’ and expert

             fees;


          h) Such other and further relief as this Court deems just and proper.


Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all questions of fact the Complaint

raises.
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Dated: Flushing, NY                         /s/ Uri Horowitz
February 20, 2025                           Attorney for Plaintiff

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